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M&T Bank Named Executive Officer Compensation and Insider Sales
M&T’s C-Suite, pictured below, owns less than 0.1% of the common shares outstanding of M&T Bank Corporation




                                                           Rene F. Jones                            Richard S. Gold                              Kevin J Pearson   Darren J. King
                                                         Chairman and CEO                          President and COO                              Vice Chairman    EVP and CFO
          Aggregate Stock Sales
                                                             $30,256,877                                $33,154,047                                $49,692,557     $35,042,447
              Since 2010(1)
            Stock Ownership
                                                                  0.09%                                     0.06%                                     0.06%          0.05%
      (% of Shares Outstanding)(2)
                                 FY 2020                      $5,532,007                                 $3,970,073                                 $3,980,581     $2,662,079
    Annual Cash
                                 FY 2019                      $5,704,703                                 $3,963,972                                 $3,974,889     $2,702,381
   Compensation
                                 FY 2018                      $4,770,132                                 $3,214,394                                 $3,208,821     $2,356,739
(1) Market value of proceeds from stock sales, calculated by multiplying the share price on the transaction date by the number of shares sold.
(2) As of December 31, 2020.
Source: SEC Filings.
